Case 18-82948-CRJ11   Doc 247 Filed 06/28/19 Entered 06/28/19 13:08:28   Desc
                        Main Document    Page 1 of 15
Case 18-82948-CRJ11   Doc 247 Filed 06/28/19 Entered 06/28/19 13:08:28   Desc
                        Main Document    Page 2 of 15
Case 18-82948-CRJ11   Doc 247 Filed 06/28/19 Entered 06/28/19 13:08:28   Desc
                        Main Document    Page 3 of 15
Case 18-82948-CRJ11   Doc 247 Filed 06/28/19 Entered 06/28/19 13:08:28   Desc
                        Main Document    Page 4 of 15
Case 18-82948-CRJ11   Doc 247 Filed 06/28/19 Entered 06/28/19 13:08:28   Desc
                        Main Document    Page 5 of 15
Case 18-82948-CRJ11   Doc 247 Filed 06/28/19 Entered 06/28/19 13:08:28   Desc
                        Main Document    Page 6 of 15
Case 18-82948-CRJ11   Doc 247 Filed 06/28/19 Entered 06/28/19 13:08:28   Desc
                        Main Document    Page 7 of 15
Case 18-82948-CRJ11   Doc 247 Filed 06/28/19 Entered 06/28/19 13:08:28   Desc
                        Main Document    Page 8 of 15
Case 18-82948-CRJ11   Doc 247 Filed 06/28/19 Entered 06/28/19 13:08:28   Desc
                        Main Document    Page 9 of 15
Case 18-82948-CRJ11   Doc 247 Filed 06/28/19 Entered 06/28/19 13:08:28   Desc
                       Main Document    Page 10 of 15
Case 18-82948-CRJ11   Doc 247 Filed 06/28/19 Entered 06/28/19 13:08:28   Desc
                       Main Document    Page 11 of 15
Case 18-82948-CRJ11   Doc 247 Filed 06/28/19 Entered 06/28/19 13:08:28   Desc
                       Main Document    Page 12 of 15
Case 18-82948-CRJ11   Doc 247 Filed 06/28/19 Entered 06/28/19 13:08:28   Desc
                       Main Document    Page 13 of 15
Case 18-82948-CRJ11   Doc 247 Filed 06/28/19 Entered 06/28/19 13:08:28   Desc
                       Main Document    Page 14 of 15
Case 18-82948-CRJ11   Doc 247 Filed 06/28/19 Entered 06/28/19 13:08:28   Desc
                       Main Document    Page 15 of 15
